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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

        IN RE:                                    )       No. 22 B 08993
                                                  )
        SHERRY D’AGOSTINO,                        )
                                                  )       Hon. Carol A. Doyle
                                 Debtor.          )       Chapter 13
                                                  )
                                                  )       Hearing Date: 10/04/22
                                                  )                    at 9:30 a.m.

                                         NOTICE OF MOTION

        PLEASE TAKE NOTICE that on October 4, 2022 at 9:30 a.m. or as soon thereafter as counsel
may be heard, the undersigned shall appear before the Hon. Carol A. Doyle, or any Judge sitting in her
place and present the attached MOTION FOR RELIEF FROM THE AUTOMATIC STAY, a copy of
which is hereby served upon you.

        This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion, you must
do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828- 7666.
Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and password is
Doyle742. The meeting ID can also be found on the Judge’s page on the Court’s website.

         If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is timely
filed, the motion will be called on the presentment date. If no Notice of Objection is timely filed, the
Court may grant the motion in advance without a hearing.

                                                          Respectfully Submitted,

                                                          RELENTLESS ENTERTAINMENT, LLC,
                                                          MICHAEL D. HAND, AND WONDERFISH
                                                          MEDIA

Keith E. Allen (#6271854)                                 By:     /s/ Keith E. Allen
Evans & Dixon LLC                                                 One of Their Attorneys
303 W. Madison, Suite 1900
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                                        CERTIFICATE OF SERVICE

         I, Keith E. Allen, an attorney who is licensed to practice law in the State of Illinois,
certify that on the 19th day of May, 2021, I certify that I caused a copy of this Notice and Motion
to be served on the parties that are listed on the parties listed below by regular mail, postage
prepaid, and through the Court's ECF system on September 27, 2022.

                                                  /s/ Keith E. Allen
Registrants served through the Court’s Electronic Notice to Registrants:

Counsel for the Debtor                      Office of the U.S. Trustee       Chapter 13 Trustee
Joseph S. Davidson                          Patrick S. Layng, Esq.           Thomas H. Hooper
Ottosen, DiNolfo Hasenbalg &                Office of the U.S. Trustee       Office of the Chapter 13 Trustee
Castaldo, Ltd.                              Region 11 219 S. Dearborn, Rm.   55 E. Monroe St. Suite 3850
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Parties served through regular mail:

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Bartlett, IL 60103




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                     IN THE UNITED STATES BANKRUPTCY COURT
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        IN RE:                                 )       No. 22 B 08993
                                               )
        SHERRY D’AGOSTINO,                     )
                                               )       Hon. Carol A. Doyle
                                Debtor.        )       Chapter 13
                                               )       Hearing Date: 10/04/22
                                               )                     at 9:30 a.m.

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        Relentless Entertainment, LLC, Michael D. Hand, and Wonderfish Media, LLC

(collectively, “Movants”), by and through their undersigned attorney, respectfully request this

Court enter an order providing them relief from the automatic stay. In support of their Motion,

Movants state as follows:

   I.      INTRODUCTION

        Debtor’s bankruptcy petition is the latest attempt to stall Movants’ attempts to recover

three million dollars wrongfully misappropriated from Relentless Entertainment, LLC’s

corporate accounts. In California, Movants filed suit against the Debtor and others for fraud,

breach of contract and other related claims (the “California Case”). In Illinois, Movants filed a

Uniform Fraudulent Transfer Act suit against MSPRDE, LLC, the owner of 456 Blue Heron

Circle, Bartlett, Illinois (the “Property”) and parties other than the Debtor (the “Illinois Case”).

Michael Pellegrino, the Debtor’s husband, filed three separate bankruptcies to delay both cases

(Case Nos. 18-08362, 19-17368, and 21-05926.) Various Judges in the Northern District of

Illinois dismissed all of those cases without a discharge because, inter alia, Mr. Pellegrino

refused to provide requested information. In the last case, 21-05926, Mr. Pellegrino promised

the U.S. Trustee’s office that he would not refile for at least a year.



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   Even though the Debtor is not a defendant in the Illinois Case, the Debtor recently filed a

notice demanding that the Illinois Case be stayed due to her bankruptcy petition. While movants

disagree that the Illinois Case is stayed because the Property is not part of the bankruptcy estate,

they filed this motion out of an abundance of caution. Movants respectfully request this Court

modify the automatic stay to allow them to proceed under applicable non-bankruptcy law to

enforce their rights and remedies with respect to the Property.

   II.       JURISDICTION

   This Court has jurisdiction to determine this matter pursuant to 28 U.S.C. §§ 157(b)(1),

157(b)(2)(G) and 1334. The statutory basis for the relief requested herein is 11 U.S.C. § 362(d)

and Rule 4001(a) of the Federal Rules of Bankruptcy Procedure.

   III.      BACKGROUND FACTS

   In September and October 2015, Michael Hand invested $3,000,000 into Relentless

Entertainment, LLC, based upon Michael Pellegrino’s false representations that the funds were

going to be used to collaborate with the creator of Power Rangers to create, market and sell new

media content. Instead of using the funds for their intended purpose or returning them by the

contractual due date, Pellegrino, the Debtor, and others converted the funds to their own personal

use and, inter alia, purchased the Property and other real estate in Illinois.

          Specifically, on September 29, 2016, Mr. Pellegrino caused $337,000.00 to be wired to

Alliance Title Corporation to purchase the Property for himself and the Debtor. (Exs. A, B & C.)

On February 23, 2017, Mr. Pellegrino and the Debtor Quitclaimed all of their interest in the

Property to MPSDRE, LLC. (Ex. D.) Upon information and belief, neither the Debtor nor Mr.

Pellegrino ever reclaimed any interest in the Property and MPSDRE is the Property’s sole owner.




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         In July 2017, Relentless filed the California Case against Michael Pellegrino, the Debtor,

and other conspirators for various for fraud, breach of contract, and various other related causes

of action. The most recent operative complaint (without exhibits) is attached as Exhibit E. In

December 2018, Relentless filed the Illinois Case against MPSDRE and entities other than

Debtor for violations of the Illinois Uniform Fraudulent Transfer Act. The most recent operative

complaint (without exhibits) in the Illinois Case is attached as Exhibit F. Both of these cases

were significantly delayed by Mr. Pellegrino’s multiple bankruptcy petitions.

   On August 9, 2022, the Debtor filed a voluntary petition for relief under Chapter 13 of the

Bankruptcy Code. Thomas Hooper has been appointed the Chapter 13 Trustee. The Debtor did

not list the Illinois Case or the California Case in her schedules despite being aware of them. In

the Illinois Case, the trial Court twice ordered her to appear for testimony at a motion to

disqualify hearing. In the California Case, the Debtor recently filed a motion to vacate a default

judgment against her. No excuse exists for her failing to identify these matters on the schedules

and provide notice.

   On September 12, 2022, the Debtor filed a Notice of Automatic Bankruptcy Stay in the

Illinois Case demanding that the Circuit Court of Cook County stay its action. (Ex. G.) The

Debtor, however, is not a party to the Illinois Case. Out of an abundance of caution, the Movants

request that the stay be modified in order to allow them to proceed with the Illinois Case.

   IV.      ARGUMENT

            a. Standard

   Section 362(d) of the Bankruptcy Code allows the bankruptcy court to grant relief from the

automatic stay by annulling, terminating or modifying the automatic stay. 11 U.S.C. § 362(d);

see also In re Pelham Enter., Inc., 376 B.R. 684, 689 (Bankr. N.D. Ill. 2007). The first ground




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for relief from the stay is for cause, including the lack of adequate protection. 11 U.S.C. §

362(d)(1). “Cause” for relief under section 362(d)(1) of the Bankruptcy Code has not been

clearly defined and is determined on a case-by-case basis. In re Fernstrom Storage & Van Co.,

938 F.2d 731, 735 (7th Cir. 1991). The second ground for relief under 11 U.S.C. § 362(d)(2) is

that the Debtors do not have equity in the property and the property is unnecessary to an

effective reorganization. 11 U.S.C. § 362(d)(2). The party requesting relief had the burden of

proving that the Debtors do not have equity in the property. See 11 U.S.C. § 362(g); see also

Pelham, 376 B.R. at 689. The party opposing relief from the stay has the burden of proof on all

other issues. Id.

            b. The Automatic Stay does not Apply to the Illinois Case Because the Debtor is
               not a Litigant, and the Property is not Part of the Bankruptcy Estate

        MPSDRE owns the Property, not the Debtor. Consequently, the Property is not part of

the Debtor’s bankruptcy estate. The mere fact that the Debtor is a MPSDRE member does not

mean that the Property now belongs to her. Gierum v. Glick (In re Glick), 568 B.R. 634, 668

(Bank. N.D. Ill. 2017) (“Under Illinois law, a debtor who is a member of an Illinois LLC has no

interest in the assets of the LLC”); Fowler v. Shadel, 400 F.3d 1016, 1019 (7th Cir. 2005)).

Furthermore, the Debtor is not a party to the Illinois case. As a result, the Debtor’s claim that the

automatic stay affects the Illinois Case is meritless.

            c. Movants are Entitled to Relief from the Automatic Stay Under § 362(d)

    As stated above, the Debtor does not own the Property. As a result, she has no equity in the

Property and it cannot be used to satisfy any reorganization plan.

    Moreover, no effective reorganization plan can exist here, and Movants do not have adequate

protection, because the Debtor does not have enough funds to make the proposed payments. In

the Debtor’s statement of income, she states that she only makes $3,816.67 per month. (Dkt. 3, at



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1.) However, the Debtor’s plan contemplates that she will make monthly payments of $6,351.68

to the secured creditors and $4,816.00 to the unsecured creditors. (Dkt. 2, at 3-4.)

   Furthermore, the plan does not provide any protection to the Movants because the Debtor’s

schedules do not include the $3,000,000 debt to Movants. Even if the Debtor had included this

debt, it would necessarily increase the monthly payment amount to multiples of the Debtor’s

monthly income.

   As a result, Movants respectfully request that this Court modify the automatic stay to allow

Movants to exercise their non-bankruptcy rights against the Property in the Illinois Case.

Movants are also requesting that any stay of the Illinois Case imposed by Federal Rule of

Bankruptcy Procedure 4001(a)(3) be waived.

WHEREFORE, Relentless Entertainment, LLC, Michael D. Hand, and Wonderfish Media, LLC,

request that this Honorable Court enter an order modifying the automatic stay under Section

362(d) of the Bankruptcy Code so that they may enforce their non-bankruptcy rights against the

Property, finding the automatic stay imposed by Federal Rule of Bankruptcy Procedure

4001(a)(3) is waived and the modification of the stay is effective immediately, and granting such

other and further relief as my be appropriate under the circumstances.

                                                     Respectfully Submitted,

                                                     RELENTLESS ENTERTAINMENT, LLC,
                                                     MICHAEL D. HAND, AND
                                                     WONDERFISH MEDIA

                                                     By:     /s/ Keith E. Allen
                                                             One of Their Attorneys
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